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1                     UNITED STATES DISTRICT COURT

2                            DISTRICT OF OREGON

3            THE HON. MICHAEL J. McSHANE, JUDGE PRESIDING

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5

6    JENNIFER JOY FREYD,                )
                                        )
7                        Plaintiff,     )
                                        )
8              v.                       ) No. 6:17-cv-00448-MC
                                        )
9    UNIVERSITY OF OREGON, MICHAEL H.   )
     SCHILL and HAL SADOFSKY,           )
10                                      )
                         Defendants.    )
11   ___________________________________)

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14                REPORTER'S TRANSCRIPT OF PROCEEDINGS

15                             EUGENE, OREGON

16                       THURSDAY, APRIL 11, 2019

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1                                 PROCEEDINGS

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3                THE COURT:    Please remain seated, folks.           Thank

4    you.

5                All right.    Good afternoon, everybody.          Let's go

6    ahead.   We'll go on the record.        I will have Ms. Pew call

7    the case.

8                THE CLERK:    Now is the time set for Civil Case

9    17-00448, Freyd versus University of Oregon.             Oral argument

10   on motions for summary judgment.

11               THE COURT:    All right.     Let's have the parties

12   introduce themselves, starting with the plaintiff.

13               MS. MIDDLETON:     Jennifer Middleton on behalf of

14   plaintiff.    I am here with my associate, Caitlin Mitchell.

15   And on the phone is my cocounsel, Whitney Stark, and also my

16   client, who, unfortunately, was stuck in SFO and her plane

17   couldn't make it, but she's on phone.

18               THE COURT:    Okay.   Great.     Thank you.

19               All right.    For defense.

20               MS. BARRAN:    Paula Barran representing the

21   University of Oregon and Hal Sadofsky.           My client is present

22   through Mr. Park, who is from the general counsel's office,

23   and also Dr. Sadofsky is here in the courtroom with me.                     And

24   I have two colleagues, Shayda Le and Donovan Bonner.

25               THE COURT:    All right.     Thank you.
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14:21:59   1               MR. WESTON:     Good afternoon, Your Honor.           Cody

           2    Weston for university president Michael H. Schill, who is

           3    here behind me.

           4               Your Honor, he may have to get up and leave if the

           5    hearing goes long.      He has a meeting of the Higher Education

           6    Coordinating Commission.

           7               THE COURT:     Okay.

           8               MR. WESTON:     So if he does leave, it's not out of

           9    any disrespect.

           10              THE COURT:     All right.     Okay.    I appreciate it.

           11              Thank you, everybody.        Thanks for the briefing

           12   that went into this.      I think it was really excellent on all

           13   sides.   I was very happy with just how succinct the briefing

           14   is on a very difficult issue.

           15              I thought we would start -- it's the defense

           16   motion, obviously.      I am thinking that we could probably

           17   break it up into maybe first talking about the sufficiency

           18   of the -- we'll call them the comparators and talk about

           19   that issue first.       Then maybe we can get into the disparate

           20   impact issue, business necessity, and maybe focusing a

           21   little tighter on this issue of retention pay, retention

           22   bonuses, retention negotiations and how that all plays in.

           23              But let's first hear for defense.

           24              MS. BARRAN:     Thank you, Your Honor.         I am going to

           25   try to hone in on that.       I do want to talk just really
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14:22:21   1    briefly, by way of introduction, as to what plaintiff

           2    actually has to prove in terms of her comparators because

           3    even though the language is different in the statutes, the

           4    test that has been applied by both this court and by the

           5    Ninth Circuit tends to borrow heavily from the way the Equal

           6    Pay Act evaluates the substantial comparability in some

           7    word.

           8               We all can understand that plaintiff's burden is

           9    initially to show that she is picking four comparators, and

           10   she has named the four male comparators that are at issue

           11   here, and that -- and she has to demonstrate in what way her

           12   work, on a day-to-day basis, compares to their work.              It's

           13   not enough for her to say our job description is the same.

           14   That high level of abstraction is insufficient, and all of

           15   the relevant case law out of the Ninth Circuit and out of

           16   this court look to the day-to-day job duties.            What do you

           17   do on a daily basis?     What are your duties?

           18              Generally, one very helpful mechanism is to look

           19   at whether there is a common core of tasks and then are

           20   there additional sufficient tasks that differentiate.                  So --

           21              THE COURT:    But isn't that a fact issue for the

           22   jury?   Or why isn't it a fact issue for the jury?

           23              And maybe what is your best case to suggest the

           24   facts here compel me, as a matter of law, to find that they

           25   are insufficient?
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14:22:46   1               MS. BARRAN:    Several things, Your Honor.

           2               First, it would be a fact issue if there were a

           3    dispute, but the facts here are undisputed as to what these

           4    people do.

           5               The plaintiff, of course, has told us in her

           6    declaration what her work does.        When we took her

           7    deposition, she was unable to say what her comparators did.

           8    She did not know their day-to-day duties.           So she basically

           9    has no knowledge.

           10              But from the record, we have introduced very, very

           11   concrete facts about what their day-to-day duties are, and

           12   that accounts for several of the declarations that are

           13   before Your Honor as well as a lot of the briefing.

           14              None of that is disputed.

           15              The only dispute is plaintiff's sense that a

           16   professor is a professor is a professor, which we submit is

           17   contrary to the law and does not follow what she needs to

           18   do.

           19              But there are no disputes, for example, about what

           20   Professor Gordon Nagayama Hall did when he was at the Center

           21   for Diversity and Community at the University of Oregon.

           22              There are no disputes about what plaintiff does.

           23              There are no disputes about the centers that are

           24   run by Professor Fisher and Professor Allen.            There are no

           25   disputes about Professor Mayr's duties as the department
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14:23:12   1    head.

           2               So the court has before it admitted and undisputed

           3    facts, and from those it is a matter of law as to whether or

           4    not these are appropriate comparators under all of the

           5    statutes that plaintiff has raised.

           6               So just quickly to run through the statutes that

           7    she has sued under, she has brought a claim under the Equal

           8    Pay Act, and that is certainly the strictest in language.

           9    The standard that the courts apply -- and this would be

           10   directly out of the Ninth Circuit, the Stanley case, the

           11   Spaulding case, and out of the District of Oregon cases as

           12   well, she has to prove that on a day-to-day basis that she

           13   does substantially equal work with her four comparators.

           14   And because her job is so very different in many, many

           15   respects from all of them, she has not made out a prima

           16   facie case under that statute.

           17              She has a claim for discriminatory treatment under

           18   Title VII.   And the test there, even though the language of

           19   the statute is a little bit different, this court has held

           20   that the test to apply is the same that follows the Equal

           21   Pay Act.   Is the job substantially equal?

           22              And that's, for example, the Mentor Graphics case.

           23   At a minimum, even if she wanted to look to the general

           24   language of the statute, she still has to show that she

           25   is -- she is in a position where she is substantially
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14:24:30   1    comparable in all material respects.          And she doesn't do

           2    that because of the nature of the work that she is doing.

           3               THE COURT:    But you would agree the core nature of

           4    the work is the same across the board.           Let's say the core

           5    requirements for a professor.      I think your argument is that

           6    the university setting is just so unique with academic

           7    freedom that, you know, professors do other things.                They

           8    can go win the Pulitzer prize.         They become pretty valuable,

           9    right?   I mean, they can do other things that somehow give

           10   them more value.

           11              MS. BARRAN:    That would be true.            They all do a

           12   core of work, but one of the issues with plaintiff's case is

           13   that she sees the core as these three general issues.                    We

           14   all teach, we all do service, we all do research.

           15              And the courts have routinely rejected that as a

           16   way of defining.    That's not what your job description is.

           17   That's like calling yourself a team member.

           18              But, in essence, there is a core that these

           19   individuals do, but her four comparators do things so

           20   remarkably different, and that's what differentiates it.

           21              So, yes, Your Honor, there is a core.              I would

           22   submit that it is a very tiny core because the exceptions

           23   certainly swallow it up.

           24              She has brought two statutory claims under Oregon

           25   law.   And despite the differences in the way Oregon law has
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14:25:57   1    used its language, the sense of it -- and this court has

           2    interpreted it that way -- that she still has to show that

           3    her job duties are substantially equal regardless of what

           4    her job description says.

           5               And we cited the Conroy case, versus

           6    Hewlett-Packard, which was Judge Acosta's opinion, I believe

           7    in 2016, so fairly recent.

           8               Even if the court were to apply a more lenient

           9    standard and look for substantial comparability or something

           10   like that, plaintiff still doesn't need it.              And one of the

           11   things I am going to be talking a little bit about is how

           12   plainly differentiated her colleagues are in terms of their

           13   responsibility.    Their responsibilities are so much -- so

           14   very, very different.

           15              She has a claim under the Oregon Equal Rights

           16   Amendment, which appears to require enabling legislation

           17   that has never been passed.       So it's -- and there is no case

           18   law under it.   So Your Honor may be writing on a blank sheet

           19   of paper on that.       If it is Oregon law and if it does in

           20   fact require enabling legislation, then the enabling

           21   legislation would be the statutes that we have already

           22   talked about that require sort of the same level of

           23   substantial equality.

           24              She has sued under Title IX, which is -- again,

           25   bars the Equal Pay Act statute.
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14:27:16   1               And then she has brought these disparate impact

           2    claims.   And I -- since you are going to take those

           3    separately --

           4               THE COURT:     Can we hold off on that a little bit

           5    and let's focus on the comparators and the discrimination

           6    claim.

           7               MS. BARRAN:     Mm-hmm.     Right.

           8               So taking a lead from what this court teaches and

           9    what the Ninth Circuit jurisprudence teaches, we have

           10   provided the court with an ample record of what the

           11   individuals do.

           12              So plaintiff has to show, on a day-to-day basis

           13   under the Equal Pay Act, does she do work that requires

           14   equal skill, effort, responsibility, and performed under

           15   similar working conditions.       The areas of skill, effort, and

           16   responsibility are also further articulated in the facts of

           17   the cases.

           18              So most of -- much of what I tried to do when we

           19   put the briefing together was to give Your Honor the case

           20   law which shows how these particular issues are treated, and

           21   that's why there are so many individualized,

           22   factually-specific cases cited in our papers.

           23              But it is clear, and it's clear from the Supreme

           24   Court in the Gunther v. Washington case, that we have to

           25   look at the day-to-day job duties; not the job description,
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14:28:26   1    not the way people describe it, but what do they actually

           2    do.

           3               So in terms of how that plays out, Gunther was a

           4    jail guard case.    There were guards and there were matrons,

           5    and both of them did basically the same thing when they had

           6    this generalized, high-level duty of taking care of and

           7    watching the prisoners.

           8               But as the court evaluated the case, the matrons

           9    had fewer prisoners, therefore less responsibility, lighter

           10   safety risks.    They did more paperwork.         The male guards had

           11   more prisoners and they did less paperwork.             And those were

           12   meaningful differences between the two jobs.             The court

           13   ultimately held that those were not comparable jobs for

           14   purposes of the statutes.

           15              That gives us some sense of how do we start

           16   parsing the job duties and what do we start looking at.

           17              In the Ninth Circuit, there was a case that had

           18   been tried in the District of Oregon, went to the Ninth

           19   Circuit for the phone company.         And this is the Forsberg

           20   case that we have cited.      The male and female employees were

           21   doing basically the same outcome.         They were testing phone

           22   lines for problems.      But the males used one type of

           23   technology.    They had a computerized program that they

           24   tested with.    The females had a different job where they

           25   were doing the exact same outcome but doing it manually.
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14:29:47   1    And the court, District of Oregon and the Ninth Circuit,

           2    said that's a meaningful difference between the two jobs.

           3               So I mentioned that responsibility is one of the

           4    factors that we look at.      And in each of the male

           5    comparators, and I am going to go through each of them by

           6    name and duties now, each of them --

           7               THE COURT:     Before you do that --

           8               MS. BARRAN:     Yes.

           9               THE COURT:     -- it seems to me the cases that you

           10   are describing deal with job duties that are given to the

           11   employee as opposed to here, where we have basic duties and

           12   then, you know, these -- at least my understanding, many of

           13   these duties aren't really written into the contract so that

           14   the U -- was it the coach case, the female basketball coach.

           15              MS. BARRAN:     Stanley, yes.

           16              THE COURT:     I mean, written into his contract was

           17   he had to do a lot of other fundraising, development kinds

           18   of things that made his job duties clearly different.

           19              Here, and maybe you need to explain this, is these

           20   comparators are coming in.        You know, their general job

           21   duties are teaching, research, you know, those kinds of

           22   things.

           23              MS. BARRAN:     Service.

           24              THE COURT:     Service.

           25              And then on -- these are just -- these are things
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                                                                                   13


14:31:02   1    that then they create that does create value, certainly.

           2               MS. BARRAN:     Yes.

           3               THE COURT:      But is it really a duty or is it

           4    simply an additional, individualized job that these folks

           5    are taking on themselves?

           6               I am not trying to discourage that.            I imagine the

           7    university appreciates it.        But is it the same thing as you

           8    are going to work with a certain kind of technology, you are

           9    going to work with something different.           This is you are all

           10   going to do this basic job, and then we find out later

           11   somebody has gone and written something or researched

           12   something.

           13              MS. BARRAN:     That would -- and, yes, that's

           14   accurate, Your Honor.      Many of the cases that you see

           15   outside of the university context are jobs that are actually

           16   assigned, but there are an ample number of university cases

           17   as well that will dive in and look at what people do.

           18              And that starts with one of the historical cases

           19   we cited, which was the Penk v. Oregon University System,

           20   old enough so that we didn't even have individually defined

           21   universities.    They were a part of one long system.

           22              But that was a case that was tried.            It was a, I

           23   think, 14-month trial that Judge Frye did, and it went up to

           24   the Ninth Circuit.      And in that case, she was looking at

           25   faculty as well and what did the faculty do.             Faculty are in
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14:32:21   1    a unique position because they sometimes are given things to

           2    do and often they volunteer for things to do.             But those

           3    still change their day-to-day duties because, if they are

           4    volunteers for something, that's going to fall under the

           5    general rubric or perhaps research or perhaps service.

           6               So if their job descriptions are, as the plaintiff

           7    says, you must teach, you must do service for the

           8    university, and you must do research, it is left to them to

           9    decide how they are going to fulfill that.              And that's

           10   really at the heart and soul of what academic freedom is in

           11   a university, in an institution of higher education.               How

           12   they do that is left up to them for their judgment, but

           13   their overall job duty and job description includes those

           14   responsibilities.       It's how you do that.      And I think you

           15   can draw some comparisons with some other professions.

           16              For example, law firms will have some level of

           17   autonomy to determine what you are going to do and how you

           18   do it.   It does not mean that you have the same job as

           19   somebody who does something different from you.

           20              I have not, and I have looked --

           21              THE COURT:     Picking law firms, in terms of one of

           22   the areas where women have some of the least equity in our

           23   society, is maybe not the perfect --

           24              MS. BARRAN:     I should probably pick a different

           25   example, but it is something that -- you know, that is
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14:33:45   1    familiar to all of us.

           2               But when you have an institution where you say --

           3    you know, where you are looking at something that is

           4    historically compromised like the -- comprised, like the

           5    university system, that is a function of how people -- how

           6    people work.    The expectation is once you get academic

           7    freedom, which is the great gift that we have given

           8    university faculty, then you get to do the work that you

           9    want to do within some very narrow parameters.

           10              We just provided the court with the citation for

           11   the appeal.    We had cited the Spencer v. Virginia State, I

           12   think, University, at the trial level.          And it was just

           13   affirmed by the Fourth Circuit.        And there's some language

           14   in that opinion where the court starts off by saying,

           15   "Professors aren't interchangeable like widgets.              Various

           16   considerations influence the hiring, promotion, and

           17   compensation of different professional jobs."

           18              And they focus in on this idea that when you

           19   give -- when somebody is gifted with academic freedom, they

           20   pick their duties.      And that -- and I have not found a case

           21   that says because you are a professor and you pick your

           22   duties you somehow are outside the scope of the Equal Pay

           23   Act.

           24              And I would submit to the court that that is --

           25   it's an interesting way it happens.         But if we looked at
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14:35:11   1    under typical wage and hour law, one of the principles that

           2    is applied under the Equal Pay Act and all the other wage

           3    and hour laws is that if the employer suffers or permits the

           4    work, then it is the employee's work.          We'll use that for

           5    pay requirements.       If an employee volunteers to work

           6    overtime, and the employer knows of it and suffers and

           7    permits it, then that is the work for which the employee is

           8    to be compensated.      This is just a different animal, but

           9    that same principle is going to apply.

           10              That was probably longer than you needed, Your

           11   Honor.   I apologize.

           12              So we have -- so we have four males.            And I want

           13   to try to be as succinct as possible but go through them by

           14   name and by duties and speak a bit about why they are so

           15   very different.

           16              And the first one is Ulrich Mayr.            Professor Mayr

           17   plaintiff challenges, says he does the same work as she

           18   does, that she is no less accomplished than he is.

           19              Professor Mayr is the department head.             And in

           20   that sense, he has some supervisory responsibility over the

           21   plaintiff.   So in that sense, she is comparing herself to

           22   somebody who is her supervisor in some ways.             She says he

           23   doesn't have full supervision because he can't tell me what

           24   to study and what to research, and that's accurate.               But he

           25   does have some level of supervisory authority over her, and
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14:36:37   1    it's in his job description as well, which is before the

           2    court.

           3               Professor Mayr has been department head since

           4    2013, so, with the exception of the contract claim, that

           5    would be the full scope of the statutes of limitations for

           6    these various statutory claims.

           7               And for all of that time there has also been a

           8    collective bargaining unit in place for the faculty at the

           9    University of Oregon.      The plaintiff is in the unit for

           10   collective bargaining, and as a department head, Professor

           11   Mayr is outside the unit because of his supervisory duties.

           12              As the department head, he does things -- he does

           13   major, significant things that the plaintiff doesn't do.

           14   She doesn't disagree because she says she doesn't know what

           15   he does on a day-to-day basis, although she acknowledges

           16   that it is a very, very demanding job.

           17              But just in general, these are the things that are

           18   in the record before you.

           19              THE COURT:     But I will tell you, with regard to

           20   this particular comparator, I think the fact that he's a

           21   department head makes him an insufficient comparator.               So --

           22              MS. BARRAN:     I will move on.      Okay.     Thank you,

           23   Your Honor.

           24              THE COURT:     I am more concerned about the grant

           25   writing comparison.
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14:37:53   1               MS. BARRAN:     Okay.    Does that mean you do or don't

           2    want me to talk about Professor Hall?

           3               THE COURT:     Help me out with Professor Hall

           4    because I don't have all my notes in front of me.               Professor

           5    Hall is also --

           6               MS. BARRAN:     CoDaC.      He --

           7               THE COURT:     Is he now the department head?

           8               MS. BARRAN:     No.

           9               THE COURT:     Okay.

           10              MS. BARRAN:     Maybe I should do him, and then I

           11   will move on.

           12              THE COURT:     Yes, please.      Yes.

           13              MS. BARRAN:     I will try to be quick with him.

           14              So Gordon Nagayama Hall joined the university in

           15   2001, so he came later than plaintiff but his PhD was earned

           16   earlier.   So he's senior to her in terms if you measure it

           17   by PhD, but not by time in service.

           18              When he joined the university, he was almost

           19   immediately recruited into a half-time -- an approximately

           20   half-time administrative position at CoDaC, the Center on

           21   Diversity and Community at the University of Oregon, at a

           22   time when, like all institutions, this university and others

           23   have struggled for how do you -- how do you join your

           24   diverse population into the community.

           25              So if you are recruiting, for example, minority
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14:39:08   1    professors, how do you make them function well?              How do you

           2    help their success in an American university?

           3                A lot of organizations, and this transcends higher

           4    education, have great records in recruitment and then people

           5    fail.   And they fail early and they fail in sad ways because

           6    they haven't had the help to move them into the

           7    organization.    I keep wanting to use the word "integrate,"

           8    but that's not quite the right word.

           9                It became Professor Hall's job to help them learn

           10   how to be scholars and researchers.         So, in essence, he gave

           11   up much of his private scholarship to take that -- his own

           12   research scholarship to take that position.             He worked with

           13   them on a one-on-one basis and was director of research for

           14   a while, was the director of CoDaC and the interim director

           15   of CoDaC.   And he reported for all of that work to the vice

           16   president for diversity and inclusion, not through the

           17   department.    And Professor Mayr, the department head, has

           18   said that there were times that he had about zero FTE in the

           19   psychology department because of his diversity work.

           20               While he was associated with the department of

           21   psychology, he did some things relating to clinical

           22   training.    He became, at least the first known to us,

           23   director of clinical training, and I am saying known in the

           24   case of this lawsuit.      Clinical training required him to

           25   take on administrative responsibilities to ensure that the
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14:40:41   1    students were getting everything they needed to be good

           2    clinicians.    So he worked to develop that.

           3               The program was not accredited.          And there are two

           4    accrediting bodies.      So he handled the accreditations.

           5    Year-long projects.      Very, very demanding.          Took site

           6    visits, required various studies, required becoming an

           7    expert in the accreditation rules.

           8               Plaintiff never did that.        Professor Freyd could

           9    have taken that position, but she never took that

           10   responsibility, out of all the clinical faculty.

           11              THE COURT:     Let me ask kind of a question, maybe

           12   later -- we can save it for disparate impact later.               But why

           13   is it men are doing these things more?          Why is it the men

           14   are getting -- you know, 21 men are being -- negotiating

           15   retention bonuses and only five women?          So I guess in terms

           16   of the comparator issue, are the same kinds of positions

           17   open to women?

           18              MS. BARRAN:     Oh, yes.

           19              THE COURT:     Okay.

           20              MS. BARRAN:     Yes.   So -- I mean, I think Dr. Hall

           21   would have been tapped for CoDaC because he had a particular

           22   area of study that related to diversity.           He's a Japanese

           23   American and that was something that he had studied.

           24              But people can certainly seek out administrative

           25   jobs, and many women do.      Sarah Hodges from the psychology
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                                                                                   21


14:42:06   1    department is actually dean in a graduate school doing that

           2    work.

           3               You have heard the name Kim Espy.            It's Kimberly

           4    Espy, was an administrator.      Her academic home was in the

           5    psychology department, but she was in a very, very highly

           6    placed role, administrative role in the university.               And

           7    those options are certainly available.

           8               I think that the director of clinical training is

           9    a really good example because that's sort of a hot potato

           10   that is hugely time consuming, and people will step up to

           11   the plate and take it.

           12              Plaintiff has elected to do her university service

           13   in different ways.      And it's -- you know, it's not that she

           14   does not do service.      She is -- she does university service.

           15   She does it well.       But it's different.     It's a very

           16   different kind of service.

           17              So all of those things would -- if done, would in

           18   fact make somebody ripe for being poached, which is one of

           19   the issues that we get into when we talk about the

           20   retentions.

           21              When Dr. Hall got -- he had a couple of retention

           22   offers himself.    The first came right after the

           23   accreditations, and I think that would be really easy to

           24   understand.    Somebody who had been so successful in doing

           25   that would be very valuable to another institution.
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14:43:25   1                And the second came later.        The retention was

           2    actually something that was lobbied for heavily by the vice

           3    president for inclusion because of his diversity work.

           4    Gordon Hall was a diversity warrior at this institution at a

           5    time that it was really needed.

           6                And that's very different from what the plaintiff

           7    was doing.   He has -- and the differentiating factor now is

           8    when he finished at CoDaC, which is just recently, he moved

           9    back to the department of psychology and elected at that

           10   time to begin his retirement, which fixes his compensation.

           11   That's just a universal rule that everybody has.

           12               One point that the court may see, if you do look

           13   at the Spencer case in the Fourth Circuit, is this sense of

           14   the importance of an institution in -- in taking somebody

           15   who does an administrative work and sort of at least

           16   freezing or red-circling their salary when they move back

           17   into the faculty.       And the reason for that is you would

           18   never have faculty take an administrative role if they were

           19   going to suffer because Gordon Hall gave up his own research

           20   work.   So he had no grants or very few grants.            And when he

           21   moved back to psychology, pursuant to university policy,

           22   there is not a deep slide back to faculty salary.              And then

           23   his salary has been fixed because of the fact that he is

           24   retiring.    Plaintiff is not retiring.        So that's a factor as

           25   well.
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14:44:54   1               THE COURT:     All right.

           2               MS. BARRAN:     Moving on to Phil Fisher, who is one

           3    of the two people with grants.         And we talk a lot about

           4    grants in our briefing for the court because they are so

           5    massively important.      The University of Oregon is funded by

           6    tuition dollars and the legislature.          And the legislature,

           7    it's not that they haven't been kind, it's that they have no

           8    money.   So there will be years when maybe it's okay, but

           9    this being a very, very good example, the dollars are just

           10   not there to give to the university.          So if you try to fund

           11   yourself with tuition, you price education out of reach for

           12   those very students who desperately need this state

           13   institution.

           14              There are 23,000 students at the university, and

           15   many, many, many of them can barely afford to be there.

           16   Their friends and their family are helping them to be there.

           17   And if this university is ever going to be able to fulfill

           18   its mission, which is to be the educator of all of these

           19   people, the -- particularly the poor and the minorities who

           20   don't have that chance, they have to figure out how not to

           21   fund the university on tuition and how not to depend on the

           22   legislature.

           23              So they do what big universities do.            They look

           24   for major gifts.    They look for alums who have done very

           25   well and want to contribute.       But the huge benefit to the
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14:46:17   1    university comes from the large federal grants, and that's

           2    for several reasons.      One is it brings enough money to pay

           3    the faculty member who is doing the principal work on the

           4    grant.   So if I go out and I get a federal grant from

           5    National Institute of Health, some portion of my salary is

           6    going to be compensated through the money that I just

           7    brought in.    And that's a huge gift.

           8               The second piece of it is what they call

           9    facilities and something -- administration.             F and A.    F and

           10   A is a percentage of the grant, and in the federal grants

           11   it's an enormous percentage.       That pays for the overhead of

           12   the university.    So if you have a lot of grants coming in,

           13   then all of these day-to-day expenses of running the

           14   infrastructure of the university are paid for by grants.

           15              Now, it's not that somebody told the plaintiff to

           16   go out and get grants.      But it is in the list of things that

           17   they think about when they are evaluating somebody for

           18   merit, and it is something that the plaintiff did early in

           19   her career.    She had many grants, and then she changed her

           20   research focus early in her career to something that

           21   eventually evolved into what she is doing today.              And she

           22   has told you that grant money is hard to find or impossible

           23   to find for the work that she is doing.

           24              So how does she fund her work?          The University of

           25   Oregon funds her work.      So it's not that she's being
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14:47:50   1    penalized for not getting grants, but somebody has to pay

           2    for it, and the facilities are not free.

           3               So the university funds her grant.             And where does

           4    that money come from?      Many of those who have brought in the

           5    large federal grants are spinning off the F and A money,

           6    which goes to infrastructure.          Some of it goes back to the

           7    department to pay for the labs and the infrastructure there.

           8               So it's a complicated -- you know, I think

           9    everybody who works with universities would devoutly wish

           10   that we had a better way of financing it, but we don't.                  And

           11   the grants are incredibly important from that perspective.

           12              In Phil Fisher's, Professor Fisher's case, he also

           13   has a relationship on the grant work that he is doing with

           14   Harvard University.      And Harvard, of course, is one of the

           15   universities that has been trying to recruit him away.                   In

           16   2017 to 2018, Harvard University remitted back his full

           17   salary to the University of Oregon because of the research

           18   that he is doing.       In 2015 to 2017, that was 80 percent, and

           19   that's up from 49 percent earlier.

           20              The numbers right now are Harvard pays University

           21   of Oregon approximately $500,000 a year for the privilege of

           22   using Professor Fisher.      It would be a real economic hit to

           23   lose Professor Fisher.

           24              So what does he do that's different with this

           25   grant money?    This is set out in great detail in David
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14:49:17   1    Conover's declaration.      So he heads research, and he knows

           2    research back and forth because he used to be at a federal

           3    agency.

           4               So Professor Fisher has brought in something like

           5    $12 million to the university since 2008.           So he brings in

           6    grant money to the tune of about $1.2 million a year.

           7               When you have a grant, you have responsibilities

           8    that exceed what a typical faculty member without a grant is

           9    going to do.    And the big federal grants require this.

           10   There are lots of smaller grants that have lesser

           11   obligations.

           12              But Dr. Conover advises that there is sort of a

           13   federal watchdog that figures out how much time does a

           14   federal grant take, and the answer is about 42 percent of

           15   your time as a person working goes to the grant

           16   requirements.

           17              He has to do a lot of certifications.             He has to

           18   start with looking at people under him to ensure -- because

           19   he is key to a center as well.         So if there are grants going

           20   out -- grant applications, grant requests going out from his

           21   center, he is the person who has to sign off on whether they

           22   are meaningful and useful or not.         So he has that

           23   first-level responsibility of certifying to the agency, to

           24   the federal agency, that this is a worthy -- this is a

           25   worthy proposal for your consideration.
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14:50:38   1               That's a responsibility that the plaintiff never

           2    had and apparently doesn't seek, but it's certainly not one

           3    that she does.

           4               Skill, effort, and responsibility are the key

           5    features of differentiating, and that level of

           6    responsibility is significant.         He also -- as the grant is

           7    being performed, he supervises the employees who come in and

           8    do the grant work.      So there would be researchers, there

           9    would be post docs, post doctoral fellows who are paid

           10   employees.    He supervises about ten employees on an annual

           11   basis.   So there's that employee supervision.            They are

           12   employees of the university working on the grant, and he is

           13   their boss.    He is their supervisor in that respect.

           14              When grant money is being spent on the grant, he

           15   is the person who has to sign on the bottom line and certify

           16   to the United States government that these monies were

           17   actually spent in this fashion.         So, again, his

           18   responsibility is enormous there.

           19              When he -- when you shift for a moment and look

           20   at -- he is a principal in what's called the Center for

           21   Translational Neuroscience.       So the university has several

           22   centers, which are clusters of organizations where people

           23   work on the same project.      So it becomes a magnet area on

           24   campus for people who do this kind of work and for scholars

           25   from the outside, and it dovetails with his work at Harvard
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14:52:07   1    Center for the Developing Child.

           2               So when we talk about centers, we think about who

           3    are the principals in the centers.         Their responsibility is

           4    to look at the meaningful work that is being done within the

           5    center, but he's also gone out and raised the funds for the

           6    center itself.

           7               He is doing the strategic planning for how to

           8    merge his center into the department of psychology over

           9    time, and that means he's having to figure out the budgets.

           10   He's having to figure out who is going to be staffing it.

           11   He is going to have to be doing the strategic plan and sell

           12   it to the university for how that's going to work.

           13              That's different in a meaningful way from the work

           14   that plaintiff does.      Plaintiff describes her research as

           15   being largely survey based, written survey based.              She is a

           16   prolific writer in her area of expertise.           She is a good

           17   researcher, but her work is different.          She doesn't do the

           18   kind of work that is done in the neuroscience area where

           19   they use equipment, they use scanners, they use brain

           20   imaging.   And this is going to be both Professor Fisher and

           21   Professor Allen.

           22              The -- the really significant differentiating

           23   factors on this are certainly the responsibility for

           24   employee supervision, 10 to 14 during the course of any

           25   year, but also the massive amount of time that is spent
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14:53:37   1    meeting the federal guidelines and the federal requirements.

           2    He has to make sure that he certifies that if there is an

           3    incident of harassment on the job that it has been

           4    investigated.    He has to certify to the federal government

           5    that it has been under some new NIH requirements, I think

           6    it's NIH requirements, that he is responsible to do.

           7               If he fails in his job, the consequences are dire.

           8    And this is another area that folds into the responsibility

           9    that he has.    If he makes the wrong statement on his

           10   certifications, there are certainly some criminal statutes

           11   that are at play.       But if the government concludes that this

           12   was his fault or that this really did not look good for the

           13   University of Oregon, the sanction can be to take all

           14   federal dollars away from the University of Oregon.

           15              So in terms of accountability, which is a piece of

           16   responsibility, he has a massive job.          And it's a job that

           17   plaintiff doesn't share.

           18              There are historically some -- there is some

           19   historical data on what has happened to scientists who have

           20   failed to carry out this part of their responsibility.

           21   Dr. Bernadine Healy used to be the head of the NIH, and she

           22   got sideways with Representative Dingle in one the various

           23   hearings and was questioned in detail about why she signed a

           24   grant proposal before the proposer signed the proposal.

           25              The question becomes, if you get sideways with
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14:55:12   1    somebody in the federal government oversight, you might lose

           2    your career and you might lose your institution's money.

           3               So somebody has to have, I think, a strong

           4    backbone and a pretty strong stomach to do this kind of

           5    work.    It's very, very different from teaching, gathering

           6    survey data.

           7               In addition, he spins off quite a lot of money

           8    that, in an indirect way, funds his colleague, Professor

           9    Freyd.

           10              He has also accepted -- with all of this that he

           11   is doing, he has accepted the director of clinical training

           12   position, which was open for this year.           This year Professor

           13   Freyd is on a paid fellowship paid by the University of

           14   Oregon at Stanford University.         She had asked Dr. Sadofsky,

           15   who was the dean of the division, if he would make an

           16   exception in pay.       And even though he was then a defendant

           17   in her lawsuit, he agreed to pay her.

           18              So she's not even on campus.         Dr. Fisher is doing

           19   director of clinical training, the same sort of duties that

           20   I previously described.      That's the hot potato position.

           21              So managing that level of grant activity with all

           22   that he does is dramatically different from the plaintiff's.

           23   It's not -- I mean, it doesn't even come close to her

           24   day-to-day duties.

           25              She does a very different line of work.             She does
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14:56:34   1    very many things.       And even in her own filings, she has

           2    talked about her accomplishments in a way where she focuses

           3    on the value of them but also underscores how very different

           4    they are from her male colleagues.

           5               So moving on, if I may, to Professor Allen,

           6    Professor Allen is Australian.         So it became sort of natural

           7    to see him being recruited by a commonwealth institution a

           8    few years after he came.       He was recruited to the

           9    university, and there was some funding which was put in

           10   place to offer a chair to somebody who was not yet at the

           11   university.

           12              So the gift, which came from a family in the

           13   Northwest, was to target somebody and to bring a superstar

           14   to the University of Oregon.       And that superstar was

           15   Professor Allen.    He's the one that the department head,

           16   Dr. Mayr, referred to as insanely productive.             He's

           17   published something like 87 papers in a year or two, which

           18   is like a lifetime's body of work.

           19              He also is a grant procurer for the university.

           20   He doesn't have quite as much under his belt yet because he

           21   is newer to the university, but he also has a center.               So he

           22   manages the Center for Digital Mental Health.

           23              And when I look at what he does there, I can't

           24   help but think about the Forsberg case, which is the phone

           25   line, you know, the equipment that you use.
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14:58:09   1                Dr. Allen studies brains in developing children,

           2    but he does it through digital technology.              So he has gotten

           3    grants to help develop this because it seems to propose a

           4    sea change for how we look at mental health in developing

           5    children.    He uses brain imaging.       They do MRIs.        They test

           6    bodily fluids.    And he uses all of that equipment.

           7                But he's also doing longitudinal tests, trying to

           8    figure out ways to deploy those little things that every

           9    human being has -- kids more than most -- which would be

           10   smartphones and other digital media, and to do things with

           11   that media which helps capture the data.

           12               It's very interesting technology.           In fact, it's

           13   so interesting that he just secured -- and it's while this

           14   case was pending -- a $3 million grant from the Gates

           15   Foundation for his work.      So this whole idea of longitudinal

           16   neuro-imaging is part of what he is doing.              He is using

           17   different things.       He is using different equipment.

           18               But he is also -- he has -- his CV is attached to

           19   his declaration, and you can see the federal grant money

           20   that is coming in.

           21               And he has those same oversight duties that

           22   Dr. Fisher has in terms of the grants and the grants that he

           23   is doing.    He is -- I mean, as with both of them, the buck

           24   stops at their desk.      If something goes wrong, it's their

           25   responsibility.
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14:59:39   1               He has brought into -- so he has a center and has

           2    brought in ten faculty from other institutions who are

           3    affiliated with it.      He's directing it.       This is the Center

           4    for Digital Mental Health, which is using -- using this.

           5    And there are staff as well.

           6               So his day-to-day activities are very, very

           7    comparable, very, very similar to his colleague, Professor

           8    Fisher, and very different from Professor Freyd.

           9               One of the other interesting things about

           10   Dr. Allen is that for some period of time within the statute

           11   of limitations he was actually paid less than Dr. Freyd.                So

           12   there's only a very small period of time where his

           13   compensation increased so that he was paid more, and that

           14   came from a retention offer, which is one of the things I

           15   know we need to discuss as well.

           16              Dr. Allen has been the next volunteer or the next,

           17   I guess "pigeon" is perhaps the wrong word, to pick up the

           18   clinical training, director of clinical training position,

           19   too.   So he is moving into an accreditation year now.              So he

           20   will be making sure that they re-up and refresh their

           21   accreditations on the two accrediting bodies in the

           22   department of psychology, and he is going to be doing that.

           23              Some of this is tied to a strategic goal of this

           24   university.    So the University of Oregon is one of those R1

           25   institutions.    That is the highest level of research
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15:01:20   1    capability.    They want to be there.       They want to play at

           2    that tier.    It brings things to this institution that are

           3    remarkable for this city and remarkable for this state.                 A

           4    lot of what happens when you are an R1 institution feeds

           5    work off into the community, and it is highly desirable.

           6               Federal grants are key to doing that.             That's the

           7    grant money that pays for the work that is done to

           8    ultimately maintain the R1 status.         So in terms of -- and I

           9    have a section in the brief that, unless you have some

           10   questions, I will probably skip over today, but there are

           11   strategic decisions that this university has made as a

           12   public body that are reserved to them.          And the decision to

           13   seek out and maintain R1 status is key and very, very

           14   important to how this university is going to function into

           15   the future.

           16              THE COURT:     So this may or may not be relevant,

           17   but does that also favor men in terms of its impact?               In

           18   terms of equity?    Are the folks who are being involved in

           19   this kind of research, this level --

           20              MS. BARRAN:     Mm-hmm.

           21              THE COURT:     -- of science, I mean, is it

           22   inevitable in many ways, culturally and historically?

           23              And do I get to even consider that?

           24              MS. BARRAN:     I would --

           25              THE COURT:     I mean, the answer may be no, it's not
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15:02:43   1    and I don't get to consider it, but --

           2               MS. BARRAN:     I guess I, standing here, wouldn't

           3    dream of suggesting that you can't or even that you

           4    shouldn't.

           5               So I can tell you that, no, it doesn't.             It

           6    doesn't favor men.      It is a science neutral.         And I can

           7    point to that in several ways, the first one being that

           8    until her retirement in 2016, the highest paid psychologist

           9    in the department of psychology at the University of Oregon

           10   was Helen Neville, an extraordinary scientist who brought in

           11   over her career probably three times the level of grant

           12   money than a Phil Fisher has brought into the institution.

           13   Helen Neville was a legend at the University of Oregon, and

           14   absolutely they supported her, but she was able to

           15   accomplish extraordinary things.

           16              One of the key people in working with Professor

           17   Fisher and Professor Allen is Dr. Jennifer Pfeifer, newly

           18   tenured faculty member.      So she was not a tenured faculty

           19   member at the time this lawsuit was filed, but she had a

           20   very, very attractive offer from the University of Texas.

           21   And the University of Oregon fought like heck to keep her

           22   and was successful in doing that.         She is and has been

           23   described as one of the people who is the future of the

           24   university.

           25              So no.   It may be that what we are looking at is
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15:04:10   1    the coincidence of some people who have a very strong work

           2    ethic and have wanted to do things like this and have made

           3    it happen.   But it isn't gender based and plaintiff has not

           4    presented any evidence to suggest that it is.

           5               I mean, I think that the university has all of the

           6    concerns that Your Honor just mentioned about the concern

           7    about advancing women, particularly women in the sciences

           8    because stem programs are very, very frequently male

           9    dominated, and we are moving out of that as a society.                  This

           10   institution, this university is not blind to that, and they

           11   have worked very hard.      They would not have given Dr. Freyd

           12   the financial support for her own work if they thought that

           13   women didn't deserve to be scientists.

           14              And I think that's a very important thing to

           15   remember that, to the extent that Dr. Freyd has not been

           16   able to get her own funding, it has come from this

           17   university, which has supported her and supported her in

           18   various ways by its laudatory representations of her work.

           19   She is regularly appearing on the website.              She is regularly

           20   being given awards.      Her peers think very, very highly of

           21   her.   Her department head thinks very, very highly of her.

           22   This is a career that has been one that the university has

           23   taken care of in many, many ways because people believe in

           24   her and her work, but it is different.

           25              THE COURT:     Okay.   I want to give some other folks
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15:05:43   1    a chance to respond to the comparators.

           2                Mr. Weston, I mean, I know your issue is somewhat

           3    more discrete, but if you want to have -- I don't know what

           4    more you can add.

           5                MR. WESTON:    No, Your Honor.      President Schill

           6    joins in the arguments of the university, so I don't have

           7    anything.

           8                THE COURT:    All right.

           9                Ms. Middleton, I do think this is your -- your

           10   hardest argument is this comparator issue.              You know, are

           11   these really appropriate comparators when -- in looking at

           12   pay equity?

           13               MS. MIDDLETON:    Well, I will start by saying that

           14   in the variety of claims Professor Freyd has brought not all

           15   of them require substantial equality of jobs.

           16               THE COURT:    Correct.     And I understand that.            And

           17   we'll get, certainly, to disparate impact, all that.                I get

           18   that.

           19               MS. MIDDLETON:    Okay.    But turning to the Equal

           20   Pay Act, which does require substantial equality of jobs,

           21   the Equal Pay Act requires a showing of equality of skills,

           22   effort, and responsibility required by the employer for the

           23   particular position.

           24               So it's not about evaluating the unique skills

           25   that the individuals bring to a job and the way those
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15:06:48   1    individuals effectuate those responsibilities.

           2               The case law is clear on this that you look at the

           3    duties expected by the employer of the job, not the unique

           4    facets of the job that the individual brings.             Hein v.

           5    Oregon College of Education, for example, talks about how

           6    the statute explicitly applies to jobs that require -- jobs

           7    that require equal skills and not employees that possess

           8    equal skills.

           9               Spaulding v. University of Washington, which

           10   defendants cite, say the same thing.          There's a section

           11   there where it talks about faculty being engaged in

           12   interdisciplinary teaching or research which is of their own

           13   desire to do but not required by the job and therefore not

           14   relevant to -- not determinative to the idea of whether the

           15   job is the same.

           16              Same with EEOC v. Maricopa.         It's the job

           17   performance requirements that are determinative.

           18              In the environment we are talking about here,

           19   which is a high-level academic research institution, one

           20   component of the job expectation that the University of

           21   Oregon imposes on all full professors in the psychology

           22   department is that they each go out and develop their own

           23   individual research agenda.       They all go out and make a name

           24   for themselves in the field because they make unique

           25   contributions and they have studied something different from
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15:08:12   1    what everybody else is studying and they have something new

           2    and different to say about whatever that topic is.

           3               And each individual, as they create their own

           4    portfolio of research and teaching and service, might need

           5    to call on different resources to figure out how to fund

           6    that.   So some individuals, in determining their area of

           7    research, might go seek external federal grants.

           8               Professor Freyd has been able to do her research

           9    without needing to do that.       She's got significant private

           10   foundation funding as well.       And it is true the university

           11   supports her, although the university supports every single

           12   one of its full professors in psychology, some far more than

           13   Professor Freyd.

           14              THE CLERK:     I get a little distracted.          Shaking

           15   your head up and down does not help win a case.              I can

           16   promise the audience that.      So, audience members, you don't

           17   have to -- it's not a basketball game.          We are just here to

           18   listen.

           19              Thank you.     Go ahead.

           20              MS. MIDDLETON:     Sorry, Your Honor.

           21              So each individual researcher is carving their own

           22   individual portfolio of what they are doing.             Some of them

           23   have to fund it in different ways.         But the expectation of

           24   the job imposed by the University of Oregon is that you

           25   create that research portfolio and you go off and do the
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15:09:32   1    research and publish in top-level, peer-reviewed journals.

           2    The fact that different people bring different skills to the

           3    job and do it in different ways is part of the job

           4    expectations.    So they are all meeting that same collective

           5    expectation.

           6               THE COURT:     But you would agree, a department

           7    head, I mean, is very different than somebody working under

           8    the department head.

           9               I mean, Judge -- you know -- Mosman can't direct

           10   my work, but he is in many ways my supervisor.              It didn't

           11   dawn on me to think when Judge Aiken had the job I was being

           12   treated unfairly.

           13              MS. MIDDLETON:     We concur that the department head

           14   duties, in particular, are different from the duties of the

           15   job of a full professor.      They are also, importantly, paid

           16   separately from the base salary of a full professor.                So

           17   Ulrich Mayr gets a stipend on top of his base salary

           18   specifically because he is department head and pays him for

           19   completing those duties.      And meanwhile, he is still

           20   expected to fulfill the basic job requirements of the full

           21   professor job, which is what he is paid his base salary for.

           22              THE COURT:     But doesn't it get -- and to me it's

           23   mind-boggling complicated when certain things allow you to

           24   kind of almost buy out having to teach a class or bring on

           25   additional graduate students.          I mean, there's so much
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15:10:57   1    interplay depending on, really, what somebody is doing and

           2    how much money they are bringing in.          It's almost -- it's

           3    very difficult to compare one professor to another in terms

           4    of what their -- you are calling it what their portfolio is,

           5    but haven't they really created their own job because that's

           6    the nature of a university setting?

           7               MS. MIDDLETON:     They have each created their own

           8    way of effectuating the requirements of the job, sure.                   And

           9    I think the defendant would agree on that.              But the basic

           10   job requirements remain the same, and that's what we look at

           11   here.

           12              And that's what makes this case different, for

           13   instance, from the male prison guards versus the matrons in

           14   the Gunther case.       Those were two separate sets of duties,

           15   with the employer imposing different expectations on the two

           16   different -- you know, different jobs, different titles,

           17   different duties.

           18              Here, the University of Oregon is imposing the

           19   same duties on all of the full professors.              There are some

           20   duties that defendants have pointed to, for example, in

           21   administering a grant that are externally imposed.

           22              So the federal government says or NIH says, if we

           23   are going to give you this bundle of money, you have to sign

           24   these certifications and you have to oversee compliance with

           25   certain regulations and so forth.         None of those are
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15:12:20   1    expectations that the University of Oregon is imposing on

           2    those full professors to do the basic job of perform

           3    research and publish and teach and do service.             Those are

           4    duties imposed by an external source that the individual has

           5    sought out to fund their research, but it's not part of the

           6    job performance requirements imposed by the University of

           7    Oregon.

           8               THE COURT:     Okay.

           9               MS. MIDDLETON:     And I would also say, to hold

           10   otherwise in this context, to say that because every

           11   individual full professor meets their job expectations by

           12   carving out a different niche and doing their job in a

           13   different way means that they all have different jobs is

           14   essentially to eviscerate the Equal Pay Act in academia

           15   because part of the job is to create your own unique voice

           16   and do the research in your own way.          And if that makes

           17   everybody's job different, then the law simply doesn't apply

           18   in higher academics.

           19              THE COURT:     Okay.   So let's talk about this whole

           20   retention pay issue.      At least in the disparate impact

           21   world, I mean, at some point, if the university is able to

           22   show that there is a -- the language in different claims is

           23   different, but let's say a business necessity for these

           24   retention pays, I mean, I am trying to envision another

           25   model that would both protect equity and at the same time
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15:14:03   1    allow a university to retain people who have brought more

           2    value than others to the university.          I mean, I am not

           3    completely buying into this absolute gamesmanship that they

           4    are all faking this idea that they are wanted somewhere

           5    else.   Your comparators -- I mean, I have got to think that

           6    a university who wants a certain kind of program accredited,

           7    and here's an expert in accrediting that kind of program,

           8    he's the first person they are going to want to steal.

           9               And I don't understand how the university can

           10   protect itself in keeping those people, especially a state

           11   government-run university versus a well-endowed private

           12   university, perhaps, and still have equity among the

           13   different department folks.       I mean, it seems more like the

           14   NBA to me in some ways.

           15              You know, and I'm wondering if even -- even if it

           16   is not job related.      I am a professor in the English

           17   department.    I just win the Pulitzer prize for a great novel

           18   I wrote on the side.      Harvard wants me because they want

           19   great writers teaching their wealthy, privileged English

           20   majors who are still going after a liberal arts education.

           21   They want me.

           22              And how does the university create a system that

           23   somehow benefits my colleagues and keeps me there at the

           24   same time?

           25              And I know you have tried to propose one.              I am
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15:15:37   1    not sure if I completely understand it or whether it's

           2    really doable.

           3                MS. MIDDLETON:    Okay.      A lot of issues you raise

           4    here.

           5                THE COURT:    I know.      Sorry.

           6                MS. MIDDLETON:    So I would start by saying in the

           7    disparate impact claim in particular, we don't have to show,

           8    as a legal matter, that there is an equally effective

           9    alternative practice.

           10               Now, I can offer one and we'll talk about that,

           11   but I just want to make clear the law doesn't require that.

           12   Once we have shown the disparate impact, then the burden

           13   shifts to defendants to show both job-related and consistent

           14   with business necessity.

           15               THE COURT:    Right.

           16               MS. MIDDLETON:    If they can't show both of those

           17   things, then Professor Freyd wins.

           18               An alternative way for her to win, even if they

           19   show both of those things, is to offer an alternative

           20   practice.   So I just want to make that clear.

           21               THE COURT:    I know I am jumping way to the end of

           22   the argument, but that's where I was most confused.

           23               MS. MIDDLETON:    Good.      Well, let's talk about it,

           24   then.

           25               So on the alternative she proposed, I understand
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15:16:34   1    that in the briefs it might have gotten a little muddled.

           2    We quoted former interim president Scott Coltrane --

           3               THE COURT:     Right.

           4               MS. MIDDLETON:     -- in describing how equity might

           5    be considered in the context of a retention raise.              He made

           6    it sound very formulaic.      I didn't mean it to be, you know,

           7    an absolute formula, like you offer the person 20,000 and

           8    then you offer somebody else five or whatever he said.

           9               My intention was to propose an alternative, which

           10   is you determine how much you want to pay this -- the

           11   targeted professor, how much is appropriate for the

           12   university to come up with to try and keep that professor.

           13   And then, as the university's policy currently requires it

           14   to do but the university doesn't actually do, you take into

           15   account the impact of that retention raise on equity

           16   throughout the department.

           17              So --

           18              THE COURT:     Is that a permissive or mandated,

           19   though?   Is it "should" on that?       They should take into --

           20              MS. MIDDLETON:     I think it's probably a should.

           21              THE COURT:     Okay.

           22              MS. MIDDLETON:     I don't have it in front of me,

           23   but I will --

           24              THE COURT:     I think it's should.

           25              MS. MIDDLETON:     Okay.    So this is what they should
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15:17:43   1    do.   This is what we are proposing.        It's the alternative

           2    practice that they actually effectuate that "should."They

           3    look at equity.

           4               And we are not saying that everyone in the

           5    department has to get the same raise.          We are saying that

           6    they look at people with comparable time and rank.              They

           7    look at people with comparable value to the university and

           8    merit.   And by the way, the departments do these merit

           9    determinations, assigning a number to every professor every

           10   time they have merit money to distribute for raises.

           11              So actually examining and comparing the merit of

           12   the different professors is not something that is not doable

           13   or not feasible in this context because they already do it.

           14              So you can compare the merit evaluations of other

           15   professors who are of similar time and rank, take a look at

           16   their salaries.    And then, sure, the university has to make

           17   a judgment call about, you know, who here deserves to be

           18   raised up along with the targeted individual for retention.

           19   And we -- you know, interim president Coltrane described

           20   that they have done that in the past, worked their retention

           21   system that way.

           22              Former department head Lou Moses described in his

           23   declaration that the psychology department has made

           24   retention offers exactly that way, considering the impact of

           25   these retentions on equity throughout the department and
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15:19:08   1    proposing raises to affected individuals that would bring

           2    them more in line.

           3               And so it's doable at the university.              They have

           4    done it before.    And it would significantly close the gap of

           5    these retention problems.

           6               THE COURT:     But can't a professor at any time ask

           7    for an equity review?      And did your client ask for an equity

           8    review regarding her salary?

           9               MS. MIDDLETON:     Anybody can ask for a raise at any

           10   time, and my client did that.          And she did it with the

           11   strong backing of her department head and with significant

           12   data about the gender disparities in the department, showing

           13   that she was way below the regression line for salaries in

           14   her department and that she wasn't the only one.               That women

           15   in the department in general, among full professors, were

           16   far below the regression line.

           17              So, yeah, she can do that.          My client did that.

           18   They took it to Hal Sadofsky and Dean Marcus, and she was

           19   turned down.

           20              So it's the practice --

           21              THE COURT:     I mean, I am trying to remember.               That

           22   was a national kind of review where Oregon was below the

           23   national average but she was above it?           There was --

           24              MS. MIDDLETON:     No.

           25              THE COURT:     In terms of pay?       I may be mistaking
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15:20:30   1    something there.

           2               MS. MIDDLETON:     Yeah, I am not sure what you are

           3    talking about.

           4               They did a self-study within department --

           5               THE COURT:     Okay.

           6               MS. MIDDLETON:     -- in which they both looked at --

           7    examined themselves and then commissioned external reviewers

           8    to look at the department.        And both of those studies also

           9    concluded that women were essentially underpaid in the

           10   department based on these regression analyses, which, of

           11   course, are basically creating an average salary, what you

           12   would expect the salary to be based on years in rank over

           13   time for, you know, the average full professor in the

           14   psychology department.

           15              There's also evidence in the record that

           16   department head Mayr did these kind of regression analyses

           17   regularly whenever he considered salaries in the department.

           18   And he talks in his deposition testimony, I want to say it's

           19   at Page 240 of Exhibit 6, he talks about how he does these

           20   analyses regularly; that over time the individuals coming in

           21   and out of the picture might shift, but the general --

           22   general trend has been the same over the time he's been

           23   department head, which is that the women are

           24   disproportionately under the regression line, and the reason

           25   is these retention raises.
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15:21:51   1               THE COURT:     Okay.

           2               MS. MIDDLETON:     So that's part of why he so

           3    strongly supported Professor Freyd's request for an equity

           4    raise.

           5               THE COURT:     Okay.    All right.     Anything else you

           6    want to --

           7               MS. MIDDLETON:     Does Your Honor want to hear about

           8    the specific individuals?         I feel like Ms. Barran --

           9               THE COURT:     If you'd like to, yeah.

           10              MS. MIDDLETON:     I'd simply say with -- well, as I

           11   said with Dr. Mayr, he is paid separately for those

           12   department head duties.

           13              The defendants talked about the director of

           14   clinical training role that Professor Fisher has had and

           15   now I think Professor Allen is about to take it on.

           16              Professor Freyd has never been invited to play

           17   that role or never been asked to.         But, again, when Dr. Hall

           18   had that role, he was paid separately for that one as well.

           19              The other thing I'd say about Dr. Hall is he was

           20   paid separately for his duties in CoDaC, the administrative

           21   position doing diversity and equity work, but he still was

           22   required to perform his basic job expectations as a full

           23   professor in psychology, and that's what his base salary was

           24   compensating for, or let me say that again.             His base salary

           25   was determined relative to the psychology department
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15:23:20   1    salaries, but he was paid through a different bucket and in

           2    addition for his duties with CoDaC.

           3               And he's back fully in the department now.              He's

           4    not doing those duties with CoDaC anymore.              So there's no

           5    reason now not to consider him a perfectly adequate

           6    comparator.

           7               And I would also say, just in terms of the --

           8               THE COURT:     Is he the one who is retiring and his

           9    pay is fixed?

           10              MS. MIDDLETON:     Yes.

           11              THE COURT:     So that's kind of a different

           12   situation, isn't it?

           13              MS. MIDDLETON:     Well, except that defendants have

           14   not asserted that their factor other than sex in this

           15   case -- well, they haven't really said what their factor

           16   other than sex is to justify the pay disparities.

           17              All of the focus on grant work, on the CoDaC

           18   duties, on all of this, everything else, is directed toward

           19   different jobs.

           20              The only thing they have talked about in the

           21   context of factor other than sex is a defense to the Equal

           22   Pay Act claim is retention.

           23              THE COURT:     Right.

           24              MS. MIDDLETON:     So they are not claiming that

           25   grant work or the retirement pay or anything else is the
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15:24:25   1    reason for the disparity.

           2               But I will just say, with respect to Professor

           3    Hall, he was paid more than Dr. Freyd before he announced

           4    the retirement anyway, so now he has an extra bump.

           5               THE COURT:     So those bumps all came from retention

           6    negotiations, right?

           7               MS. MIDDLETON:     Yes.     Yeah.

           8               THE COURT:     Okay.

           9               MS. MIDDLETON:     I would say that comparing, for

           10   example, whether the administrative duties of administering

           11   a grant is the same as the administrative duties that

           12   Professor Freyd has in running her lab and supervising

           13   employees in the context of her research and supervising

           14   people in the context of her journal duties and so forth,

           15   those are all questions of fact for a jury.             They are --

           16   they might not be identical.         Maybe a jury would find them

           17   to be identical.    They are certainly closely related.             These

           18   are all questions of fact for a jury to consider.

           19              THE COURT:     Okay.   All right.      Thank you,

           20   Ms. Middleton.

           21              All right.     So we are kind of moving into issues

           22   around disparate treatment.       We can talk a lot more about

           23   the retention pay approach.

           24              I guess the question I have for defense -- and I

           25   will leave it up to you who wants to take it -- I mean, when
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15:25:44   1    would the Equal Pay Act ever apply to a university?               Or can

           2    it?

           3                MS. BARRAN:    It would, indeed.

           4                THE COURT:    The way you are describing it, every

           5    professor is different.

           6                MS. BARRAN:    Uh-huh.     And if every professor is

           7    different, it doesn't apply because the act is structured

           8    that way.    But that's a very superficial way to look at the

           9    university.

           10               So if you look at the faculty who are sort of

           11   stretched out and you start as perhaps an instructor and

           12   then you might become an assistant professor and then you

           13   might get tenure, we are talking about the very rarefied

           14   tenured faculty.

           15               But think, for example, about coming in as an

           16   instructor.    And I was trying to think about the most

           17   by-rote teaching thing, but since I did languages, I am

           18   going to talk a little bit about languages.

           19               So let's posit instructors in the department of

           20   romance languages who teach French grammar.

           21               THE COURT:    Why do the liberal arts always get

           22   picked on when it comes to this kind of stuff?

           23               MS. BARRAN:    You know, I share that.         I --

           24               THE COURT:    Well, isn't there a case that

           25   associate professors share the same duties?
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15:26:48   1               MS. BARRAN:     Well, the plaintiff is only talking

           2    about the senior-most tenured faculty who have been charged

           3    with the expectation of going off and developing something

           4    new and wonderful and defining their own world with academic

           5    freedom.   This is -- Dr. Mayr gave fairly compelling

           6    testimony about this.      Once you have that, once you have

           7    that position, we do not do the same things.

           8               There's nothing wrong with that.             If Congress

           9    wants to pass a law saying we are going to change that,

           10   Congress can pass that law.      And then there will be First

           11   Amendment challenges about academic freedom because we know

           12   that's been a big issue in the courts.

           13              But Congress and the State of Oregon have elected

           14   not to pass such a law because the idea is always we want to

           15   look at the equality of pay within apples to apples.                We

           16   don't want to be comparing apples to mangoes.              That's too

           17   much.   It's not that it's beyond the capability of the

           18   court, but it's also something that Congress and the State

           19   of Oregon believe should be done by the university, which is

           20   the specialist in education, and they should bring their

           21   unique knowledge to doing that.

           22              But you will have jobs at universities that are

           23   absolutely subject to the Equal Pay Act.           And we are not

           24   saying that tenured faculty are not subject to the Equal Pay

           25   Act, if you could show two people who did basically the
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15:28:16   1    same.   And within the department of psychology there are

           2    such people.    I mean, plaintiff's work is very similar to a

           3    colleague's, Gerard Saucier.       It's more similar to his than

           4    it is to Professor Fisher's.       You can compare those two.

           5    They do very many of the same things and the comparison

           6    would be great.     He just happens to earn less, so he has not

           7    been on her list.

           8               But if you take her argument to the furthest

           9    extension, one of the questions I think the court may ask is

           10   why are we only talking about a department because plaintiff

           11   is saying, once you are a professor, you have a job.                There

           12   are 750 tenure track -- tenure eligible or tenure track

           13   professors at this institution.         Plaintiff only wants to

           14   compare herself to four within her department.             I'd --

           15              THE COURT:     Plaintiff is 16th among those tenured?

           16              MR. PREUSCH:     She is 16th in the division of

           17   natural sciences.

           18              THE COURT:     How many --

           19              MS. BARRAN:     About 90.    It's in Dr. Sadofsky's

           20   declaration.

           21              So I disagree with the argument that we are trying

           22   to talk the university out of the Equal Pay Act.              It is

           23   there in all its glory.      The university has been doing equal

           24   pay studies and moving it along to make sure that they are

           25   complying with the new law that Oregon has passed and trying
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15:29:43   1    to ensure it.

           2               But the important first question, the part of the

           3    prima facie case, is not where does the money come from.

           4    The Ninth Circuit has said we look at the jobs first.               If

           5    the jobs don't meet the substantial equality or substantial

           6    comparability, if that's the statute test, then we are not

           7    going to compare money on jobs that are merely similar.                 And

           8    that's been emphatic, and we have a history of law on that.

           9               I wanted to respond to some of the questions about

           10   this alternative practice because I don't agree with how

           11   it's been described, and I just wanted to make sure that I

           12   had an opportunity.

           13              THE COURT:     Can I ask you this first.

           14              MS. BARRAN:     Yes.

           15              THE COURT:     This disparate impact, should I be

           16   concerned that only five women sought retention bonuses?

           17   Two -- only two received offers, sufficient offers, I guess,

           18   to keep them.    21 men.    12, I think, received sufficient

           19   offers.

           20              I mean, I know statistics are a little -- and this

           21   is a low number to rely heavily on the statistics.              But why

           22   shouldn't I?

           23              MS. BARRAN:     Yeah.   And you should not for a

           24   number of reasons, including that the plaintiff doesn't make

           25   out a prima facie impact case.
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15:31:09   1               But let me see if I can answer your question

           2    first.

           3               Number one, plaintiff has admitted that she has

           4    never heard of a woman who has been recruited on the outside

           5    who did not get a retention offer from the university.

           6               Number two, I think our numbers, as set out in

           7    Dr. Sadofsky's declaration, may differ from that.              But if

           8    those are the same numbers, then -- you know, then those are

           9    the numbers.

           10              Number three, there have been men who have said,

           11   "See you," and gone to the University of Chicago, which had

           12   much richer offers for them.

           13              Number four -- and I want to move in a moment into

           14   why the plaintiff doesn't have an impact claim, but I do

           15   want to say that I questioned -- during Dr. Freyd's

           16   deposition, I questioned her on do you have any data?               Do

           17   you know of any data that women are not -- that women in the

           18   northwest of -- on the West Coast of the United States, the

           19   Pacific Northwest or within Oregon, are somehow

           20   disadvantaged in getting offers someplace else?

           21              And her response, which we have quoted in our

           22   papers, was that she knew of no such data.              The only data

           23   that she had read was in Europe but not here.             She didn't

           24   know of any data.

           25              But also, and this is probably considerably more
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15:32:29   1    important for Your Honor's consideration, she also said that

           2    there was not a single faculty member in the department of

           3    psychology who could not get an outside offer if he or she

           4    wished.

           5               And that's very powerful testimony.              This is one

           6    of the flagship departments in the university.               This is a

           7    very, very strong department.          And out of the plaintiff's

           8    own mouth is, "If I wanted" -- if anybody.               And I said,

           9    "You, too?"

           10              And she said, "Yes, me, too.          If I wanted an

           11   offer, I could get one someplace else."

           12              She has, for her own reasons, decided not to even

           13   entertain the slightest bits of the initial nibbling.

           14              So -- and I am thinking that I need to talk a

           15   little bit about the impact so that I can explain for Your

           16   Honor why this fits in.

           17              So plaintiff has to prove a lot of things to have

           18   an impact claim.    And the first thing she needs to do is to

           19   provide the court -- and it's her responsibility to do this

           20   in response to our motion -- provide the court with adequate

           21   statistical evidence that there is in fact an impact being

           22   caused by the retention offers.

           23              She has chosen to look at a group of about ten.

           24   There are some Ninth Circuit cases that say even 28 is not

           25   enough to get reliable statistics.
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15:33:57   1               And she's produced a statistical declaration which

           2    has been rebutted by the expert.        And I don't -- that's been

           3    adequately briefed, I think, for Your Honor, and it isn't

           4    something that I think this court can accept because he

           5    takes people out.

           6               The statistical testing that the plaintiff has

           7    done is always just a simple plot.         It's like how many years

           8    have I been here and what does my salary look like.               It

           9    doesn't account for anything else.         It doesn't factor --

           10   factor in much of anything.

           11              But if you want to look at the impact theory, she

           12   has multiple things she has to prove, and she has to start

           13   with a statistical disparity.

           14              The second thing she has to do is she has to

           15   identify the very specific and narrow practice or policy

           16   that causes that disparity.

           17              So here is something that is a significant problem

           18   in how she has done this.      She says retentions are the

           19   problem.

           20              THE COURT:     Right.

           21              MS. BARRAN:     But retentions have many, many

           22   variables.   So what she needs to do, and she has not done

           23   this, she hasn't had anybody look at how is the retention

           24   practice done and at what point in considering retentions is

           25   this impact if there is an impact caused.
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15:35:18   1               So, for example, one of the considerations is

           2    going to be we are not going to make you a retention offer

           3    because we are going to lose you anyway.           I mean, there was

           4    that whole issue with what they called the two Eds who went

           5    to Chicago.    And the offer was so rich, they said, you know,

           6    we are not even going to make another bid on this because we

           7    are out of money.       We are not going to give you any more

           8    money.

           9               The situation with Professor Baldwin, who has

           10   submitted a declaration.      So she was the one that wanted to

           11   go to Cambridge.    There were many considerations that went

           12   into the size of the proposal.         One of them was the timing.

           13   Her department head said, "Why don't you wait?             You are not

           14   a finalist.    You are one of four."

           15              THE COURT:     Right.

           16              MS. BARRAN:     She wanted -- but she wanted to push

           17   it.   So maybe what happened to her happened because she did

           18   it too quickly.    She should have waited until later.

           19              Ultimately she was given an offer that was going

           20   to pay her more than she would have gotten at Cambridge;

           21   elected, for her own reasons -- she hasn't said why -- to

           22   stay at the University of Oregon, turned down the offer, and

           23   then didn't get the Cambridge offer anyway.

           24              But that -- but we don't know at what point that

           25   negotiation failed.       We just know that there was an issue of
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15:36:36   1    timing.   We know that there was an issue of consideration as

           2    to what was the level of her scholarship, how much money do

           3    we have, how much money can we bring in.

           4               And certainly with the two in this department,

           5    Dr. Fisher and Dr. Allen, there were major considerations

           6    about how much money they are bringing in, which pays for

           7    them.   If money has to be gotten from someplace else, then

           8    they have to figure out where it goes.

           9               Plaintiff hasn't done anything to attempt to say

           10   this money -- this impact that I think has happened has come

           11   from not looking at women's scholarship the right way or not

           12   taking us seriously or not giving us enough money.              We just

           13   don't know what that factor is, and that's critical to the

           14   failure of the claim.

           15              She also has, and this is the part of our briefing

           16   that talks about Garcia v. Spun Steak.          An impact has to

           17   fall more heavily on the minority.

           18              And in this case, retention offers hit everybody.

           19   And everybody who talks about it talks about retentions are

           20   inequitable practices.

           21              You know, and as a footnote, if Your Honor could

           22   figure out a way to write a nationwide injunction to keep

           23   Harvard and Yale from trying to take our people, we would

           24   support that, but it's not going to happen.             We will always

           25   have to be dealing with these great faculty that are being
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15:37:58   1    drawn away by other places, Jennifer Pfeifer being an

           2    excellent example.      The university wanted to keep her very

           3    badly and did.

           4                But there are real concerns in putting the

           5    compensation structure out of whack because it does.               But

           6    when you talk to the people in the department and you have

           7    declarations before you, it is men and women who express

           8    concerns.    Gordon Hall's declaration, he was paid less than

           9    Helen Neville.    He was paid less than others.           Every time --

           10   when Phil Fisher and Nick Allen got retention offers, they

           11   bounced above him, if that was -- if they were below him,

           12   and it put him out of whack in comparison to them.

           13               Every single person who is below them has been

           14   affected by it in the same way.        And that is not a disparate

           15   impact because the impact statute requires it to fall

           16   harshly -- more harshly on the minority population.

           17               On the Oregon side, the practice has to be

           18   totally, completely uniform.       And plaintiff has said that

           19   it's not uniform.       So it's got technical issues.

           20               Plaintiff has also not demonstrated that she was

           21   affected by this because, as you know, she never -- she

           22   never brought an outside offer to the university.              She never

           23   had an opportunity.       She never gave them an opportunity to

           24   negotiate.

           25               So she hasn't even pled this as an impact claim,
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15:39:30   1    with a major failing on the statistical evidence and a major

           2    technical failing on inability to point to what is actually

           3    causing the impact that she sees.

           4                But then the second, and Your Honor mentioned, of

           5    course, the business justification, the job -- job

           6    relatedness.    And I don't know if you want me to even talk

           7    about that.    It seems so self-certain to me.           But if we lose

           8    Phil Fisher, we lose Phil Fisher and all the money that goes

           9    with him.    We want to keep Phil Fisher because of our

           10   knowledge of what he has done for the university.

           11               And this is a thread that runs through all of our

           12   papers.   It is important to the university.            It's clearly a

           13   business necessity, consistent with business necessity and

           14   job related, which brings us, then, to the demonstration.

           15               Dr. Coltrane, who was interim president for a

           16   while and was the provost and has had a number of various

           17   positions at the university, is the person who spoke about

           18   sort of the germ of what the plaintiff has suggested is the

           19   alternate practice.      And he said we tried this once and

           20   nobody was happy.       It didn't work.    And we tried it in a

           21   hiring situation.       It wasn't a retention issue at all.

           22               Both he and Dr. Sadofsky have provided

           23   declarations about this kind of proposal as being completely

           24   unworkable.    And it's unworkable for a number of reasons.

           25   Your departing person is going to need what your departing
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15:41:12   1    person needs to stay at the university.

           2               So the way the plaintiff initially described it

           3    was give that person half and then spend the other half on

           4    the two or three people who are out of whack.

           5               I think that the court might want to look at the

           6    Rudebusch decision in the Ninth Circuit because it does send

           7    a clear message that unless you have some sort of

           8    statistical proof that you have -- that you actually have a

           9    gender issue, you can't just be handing out money because in

           10   that case, they ended up getting a reverse discrimination

           11   claim when they tried to do some equity management.

           12              And the plaintiff, I believe, was successful in

           13   that case because there are always going to be disparities.

           14   I mean, the Ninth Circuit has always held that you are not

           15   going to have a particularly uniform compensation system.

           16              So plaintiff has this burden, and we have briefed

           17   it with a Ninth Circuit case.          It's the Hardie v. NCAA case.

           18   Plaintiff has to have first offered this proposal to the

           19   university, and it has to be tested and it has to be a

           20   proposal that will work.

           21              And that's -- you know, it's -- you know, it's the

           22   complaining party shall demonstrate that each particular

           23   challenged practice causes a disparate impact, and the

           24   complaining party must make a demonstration with respect to

           25   an alternative practice, and the respondent must refuse to
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15:42:44   1    adopt it.

           2                So plaintiff has to demonstrate that it's not

           3    going to diminish the gap but to stop an impact.              But we

           4    suggest that this is just another theory of go find more

           5    money and do more equity adjustments.          It does not carry her

           6    burden.   And it is squarely a burden that is in her pockets.

           7    She has not ever, in the past, proposed an alternative

           8    practice.

           9                When I asked her what her alternative practice was

           10   during her deposition, it was different again.             Her practice

           11   was you need to pay people more so that they feel wanted at

           12   this university and they won't be attracted to leave.               That

           13   was her alternative practice.

           14               So, you know, the idea that we can just coin money

           15   and pass it out to people that we think may be inequitably

           16   treated is potentially unlawful but also requires us to

           17   figure out where the money is going to come from.

           18               The alternative practice is required -- to be an

           19   alternative practice that satisfies the requirements, the

           20   alternative practice has to be something that meets all the

           21   university's needs.      And both Dr. Coltrane and Dr. Sadofsky

           22   have explained in quite some detail why it doesn't.

           23               I wanted to correct, I think, a misunderstanding

           24   about the going out and looking at the national.              I think

           25   that Your Honor was talking about what Dr. Sadofsky had done
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15:44:15   1    and Ms. Middleton was talking about something else also.

           2               When plaintiff asked for -- she had asked for a

           3    raise.   And what had happened is her department head had

           4    given her an eight percent raise, and then subsequently she

           5    learned that if he had pushed really hard she might have

           6    qualified for an exceptional equity increase.

           7               So about a year after the fact she asked Dean

           8    Sadofsky to see whether he could get her the extra four

           9    percent.

           10              And he outlines this in great detail in his

           11   declaration.    He went back to look at whether or not that

           12   was a supportable request and a meritorious request, and he

           13   looked first at internal equity.        He looked within the

           14   department.    And then he was the one who looked to the

           15   division of natural sciences and saw where the plaintiff was

           16   paid there.

           17              And then the University of Oregon uses a specific

           18   data bank for comparators for compensation.

           19              So he went -- and they have a public section.

           20              So he went out and looked at that public section.

           21   And that was where typically University of Oregon lags

           22   behind because we have full professors, and we pay them

           23   poorly because of money the state allocates.             And against

           24   that, we usually lag behind.

           25              Professor Freyd made substantially more than the
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15:45:40   1    service had targeted.      So he was benchmarking, and he did

           2    that benchmarking to see where she was and then concluded

           3    that he did not see grounds for an exceptional additional

           4    four percent increase.      And Professor Freyd was indeed

           5    disappointed by that.

           6               I want to return for a moment to something that we

           7    have pointed out in our reply memorandum, too, on the impact

           8    claim.

           9               So the essence of an impact claim is an entirely

           10   neutral practice which falls more harshly.               If you -- and

           11   we -- I tried in the reply memorandum to pick out the very

           12   specific parts where plaintiff describes what her impact

           13   claim is, and her impact claim is described as we are not

           14   complaining about retentions.          We are saying that you treat

           15   women differently in retentions.         And that's a treatment

           16   claim.   And you can't merge the two.          It's an either/or.

           17   You either have an impact claim or you have a treatment

           18   claim.

           19              But all of the description of what plaintiff sees

           20   as wrong accepts that we have to retain and then says, "But

           21   you treat women poorly."      And that was the -- sort of

           22   something that was supported by Dr. Baldwin's declaration.

           23   She didn't think she got a fair shake in comparison to

           24   Professor Allen.

           25              If you look at this as a treatment claim, which I
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15:47:03   1    think the plaintiff has clarified she's thinking about, then

           2    plaintiff loses on that as well because she has never -- she

           3    never elected to see what she might be able to do on the

           4    open market.

           5               And nobody's suggesting gaming anything, and I

           6    wouldn't suggest to her -- I don't think the university

           7    would suggest to her that she should just go out and get an

           8    offer for the sake of getting an offer.           But it's a little

           9    bit like the promotion that you didn't apply for and then

           10   you start complaining about the person who got selected.

           11              She could have.     She could have sought to go to

           12   another institution if she wished, but she didn't.               She

           13   elected not to, and she elected to stay at the university,

           14   and that disentitles her from bringing a treatment claim

           15   because she doesn't have standing.

           16              If there is somebody with standing, it would be

           17   somebody who went through the process and is able to look at

           18   a male comparator and say, "You treated me shabbily and you

           19   didn't treat him shabbily."

           20              So, for example -- and I am not suggesting that

           21   Dr. Baldwin has a valid theory.        But she has articulated,

           22   you know, "You treated me worse than Dr. Allen."               Well,

           23   that's Dr. Baldwin's theory, and that's her potential claim

           24   if she thought it was a claim.

           25              But plaintiff doesn't have that.             She has to find
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15:48:25   1    a way of showing that she was similarly situated in all

           2    respects with the male she compares herself to.               And because

           3    she never did this, then she does not -- she doesn't meet

           4    the requirements for a treatment claim.

           5               So, you know, the impact -- the retention issue

           6    and the impact claim fails entirely.

           7               And I would -- you know, Your Honor had asked

           8    earlier about, you know, women and developing women.                And I

           9    think that Dr. Freyd is somebody who actually illustrates

           10   something that this institution has done.           And you probably

           11   will recall her testimony about how she was recruited to the

           12   University of Oregon.      She was at Cornell.          Cornell made her

           13   a retention offer to keep her from going to the University

           14   of Oregon, and she turned it down because she thought that

           15   she would be better treated in Oregon and she would have a

           16   better career and be more fulfilled and be happier, and the

           17   weather was better here.      Not in the last few days, but.

           18              But it was a family offer.         It was an offer to her

           19   and a separate offer to her husband.          You might remember her

           20   testimony that she, quote, got everything I asked for,

           21   quote.

           22              And when she came here, somebody senior to her

           23   moved out of a corner office for her.          And she summarized,

           24   "I felt very wanted."      That's what this university did in

           25   1987 to recruit Professor Freyd to this institution.
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15:49:54   1               So there isn't kind of the history of thinking

           2    that women scientists are second-class citizens that you

           3    would expect to see if you had this kind of impact claim or

           4    we don't treat women well on retentions.           The statistic that

           5    the university has given you that we have consistently

           6    always tried to retain a woman who -- a faculty member who

           7    has gotten an offer from some other place is a powerful

           8    statistic.

           9               I think that there is perhaps a general sense that

           10   maybe women don't do this as much.         But, number one, that's

           11   not attributable to the university.         And secondly, we have

           12   no data.   That's sort of a social understanding.

           13              This university is not responsible for correcting

           14   something that society put in place someplace else.               They

           15   are responsible for what they do themselves, and they take

           16   that responsibility.

           17              And I -- oh, I think I have covered everything

           18   that I intended to cover on this, Your Honor.             Thank you.

           19              THE COURT:     All right.    Thank you, Mr. Barran --

           20   Ms. Barran.

           21              Mr. Weston, was there anything you wanted to add?

           22              MR. WESTON:     No, Your Honor.      President Schill has

           23   been dismissed in his individual capacity, so he's only in

           24   in his official capacity, and we are in line with the

           25   university.
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15:51:20   1               THE COURT:     Oh, that's right.       Okay.

           2               Ms. Middleton, you have the final word.

           3               If we go back to disparate impact, I mean, I am --

           4    it seems unfair, the whole system.         I mean, you have -- you

           5    know, I hate it when we are calling, you know, certain

           6    people within a department superstars.          And they are getting

           7    the retention pay when there are, you know, more senior

           8    professors who probably do, you know, the real work of the

           9    university.    They are teaching more undergraduate classes,

           10   they are taking on more advisory roles, but they are stuck

           11   in a pay structure from their contract that doesn't come

           12   close to some of these retention payments.

           13              But how does that impact women in particular?                I

           14   mean, it has to be disparate impact towards a minority

           15   group, not towards everybody else doing the work of the

           16   university who is not a superstar.         Your argument has to say

           17   it impacts women more.

           18              So can you help me with that?

           19              MS. MIDDLETON:     The data we presented shows that,

           20   in the context of full professors in the psychology

           21   department, women are disproportionately impacted by the

           22   facially neutral practice of giving retention raises.

           23              So there are kind of three different sources for

           24   this.   One is the data that you recited about who asks for

           25   retention raises and how often they are actually given an
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15:52:42   1    adequate retention raise.      Those numbers you -- that the

           2    court recited meet what's called the four-fifths rule,

           3    which, under the disparate impact case law, is a kind of

           4    rule of thumb for determining disparate impact where women

           5    are chosen at a rate that's four-fifths of the rate that men

           6    are chosen in.    That shows a disparate impact.           So --

           7               THE COURT:     Yes, but aren't there some cases that

           8    kind of shoot down low numbers using these kind of numbers

           9    on the four-fifths rule?      We have got -- I mean, if five is

           10   a pretty low number to draw long-term conclusions over, I

           11   mean, it would only take one to shift it remarkably in maybe

           12   the defense favor.

           13              MS. MIDDLETON:     Well, there are two other sources

           14   of data.

           15              So that's one, and I think it's instructive.                 Some

           16   cases are fine with the lower numbers.          Others aren't.

           17   There's a mix of opinions on that.

           18              But that's why we presented additional evidence.

           19              So we have got the four-fifths rule.            And then we

           20   have got the regression analyses that Dr. Cahill did.

           21   Defendants have disputes with that, but to me that just

           22   shows more disputes of fact.

           23              He clearly analyzed the salaries among full

           24   professors in the department, determined a significant

           25   disparity between female full professors and male full
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15:54:08   1    professors.    And once he corrected for the retention bonuses

           2    that the men got, that gap closed.

           3                So that shows not only that it's the policy that's

           4    causing this gap but also that the gap is there in the first

           5    place, statistically.

           6                And then we also have the data that department

           7    head Mayr found himself.      It's the same data I was talking

           8    about before.    He recites it in his deposition, it's

           9    Page 240, I think, where he talks about having done these

           10   regression analyses multiple times over a number of years,

           11   and the pattern is the same.       Women are, as a group in the

           12   department, paid less than the men are based on the

           13   regression line.    And the reason for it, when he corrects

           14   for the retention bonuses, is the retention.             So that meets

           15   the prima facie showing.

           16               I would dispute the defendants' argument around

           17   saying basically we can't even show there is an employment

           18   practice that's subject to disparate impact analysis here.

           19               The Supreme Court in Watson v. Fort Worth Bank &

           20   Trust looked at the practice of just simply using

           21   subjective -- each manager's subjective discretion to decide

           22   on promotions and hiring and found that that by itself was

           23   enough of a practice to be subject to disparate impact

           24   analysis.

           25               And the retention policy is more of a policy than
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15:55:49   1    what you were talking about in the Watson case.             Sure, it's

           2    subjective.    Sure, you have to exercise discretion.             But the

           3    Supreme Court said that doesn't mean it's not amenable to

           4    disparate impact analysis.

           5               I also want to address the defendant's point about

           6    Professor Freyd not having asked for a retention raise.                 For

           7    one thing, the fact that she hasn't asked for one doesn't

           8    mean she's not affected by the practice throughout the

           9    department.    In fact, defendant talked about how everyone is

           10   affected in the department.       The men who actually get the

           11   retention raises are the most affected and they benefit from

           12   it, but everyone in the department is affected by it.

           13              So, for instance, if you look back at the Griggs

           14   case, with the Supreme Court first recognizing the idea of

           15   disparate impact where they said an employer that uses a

           16   high school diploma as a way to weed people out of these

           17   low-level factory jobs, that had -- the court found that had

           18   a disparate impact on African-American applicants.              The

           19   court didn't go and say, well, every African-American

           20   applicant has to try and get a high school diploma in order

           21   to even have standing to bring this claim.              That's not the

           22   point.   You look at what the facially neutral practice is,

           23   and then you look at the impact of that practice in that

           24   department on the minority group, and that's enough to show

           25   that your member of the minority group is affected by it.
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15:57:17   1    That person doesn't have to go fulfill some requirements to

           2    try and meet that policy in order to have been affected by

           3    the policy.

           4               THE COURT:     But you are not trying to turn it into

           5    disparate treatment.      You are saying it's disparate --

           6               MS. MIDDLETON:     I'm saying disparate impact here.

           7    Yeah.    Yeah.

           8               And I would also say our disparate impact and

           9    disparate treatment claims don't collapse into the same

           10   thing.    The disparate impact analysis talks about the

           11   policy, which is a written policy.         It's in the record.

           12   It's facially neutral.      I don't think there is any dispute

           13   that the policy on its face is facially neutral.              It

           14   operates to have a disparate impact on women.

           15              The kind of disparate treatment evidence we

           16   provided helps explain why that impact exists, but it's

           17   not -- we are not saying that the policy is not facially

           18   neutral.    The policy is facially neutral, but we have some

           19   explanatory factors about why this disparate impact would

           20   happen.

           21              And then separately we have Professor Freyd's

           22   disparate treatment claim, which is, just like her male

           23   comparators, she asked for a raise.         So she might not have

           24   asked for a retention raise, but she asked for a raise.                 All

           25   of her male comparators asked for a raise.              They all got a
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15:58:31   1    raise.   She didn't get a raise.       That's disparate treatment.

           2               Some of the explanatory factors we give for why

           3    retention policies have this kind of impact help support the

           4    disparate treatment theory, but it's a different theory.

           5               And in the Ninth Circuit, it's clear that a

           6    plaintiff can bring both.      The Rose v. something case.              Rose

           7    v. Wells Fargo case is an example of bringing both.               And you

           8    are absolutely allowed to do that.

           9               I also just want to point out that defendants'

           10   argument that basically to even bring this claim Professor

           11   Freyd needs to have gone to shop herself around on the

           12   market and tried to negotiate a retention raise is, from a

           13   policy standpoint, absolutely against the interests of the

           14   University of Oregon.      For the university to say essentially

           15   that in order to get paid equitably with her colleagues,

           16   every professor who -- you know, who is paid less than men

           17   who are getting retention raises needs to go get a competing

           18   offer just subjects the university to losing people.               And it

           19   invites poaching by the Harvards and the Yales that we don't

           20   want to see taking away the top faculty in the university.

           21              An alternative practice like the one we have

           22   proposed would help address that problem.           It would let

           23   people know that if there is a disparity caused by a

           24   retention, there will some equalization for those of equal

           25   merit and equal time in years in service.
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16:00:28   1               THE COURT:     But doesn't that -- I guess it's back

           2    to doesn't that solution take away from your argument that

           3    it's gender based because you would have to apply that

           4    equity to the males and females equally that are of the same

           5    tenure who are not receiving these retention bonuses.

           6               MS. MIDDLETON:     Sure.    And the -- the idea --

           7    there would be no issue around applying it to everybody who

           8    is equally affected.      The -- some of the evidence we

           9    provided around why the facially neutral policy has this

           10   disparate effect on women is exactly because women are less

           11   likely to be the ones shopping themselves around and getting

           12   the alternative offers and then negotiating a retention

           13   raise.

           14              And so they are the ones who are more likely to

           15   get the raise, but ultimately the university has to follow

           16   the law and pay people who are in the same job with the same

           17   years of service and the same merit equitably.             And that's

           18   men and women, and if it requires raising up, you know, a

           19   man here and a woman there, that's fine.           It would solve the

           20   disparate impact problem of this facially neutral policy.

           21              THE COURT:     All right.    Anything else from the

           22   plaintiff?

           23              MS. MIDDLETON:     I do want to address one more

           24   thing about the Oregon state law.

           25              THE COURT:     Sure.
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16:01:57   1               MS. MIDDLETON:     So Professor Freyd brought a claim

           2    under 652.220, which is Oregon's equal pay law.             That law,

           3    at the time she filed her claim and still, requires

           4    comparison of comparable jobs, not equal jobs.

           5               As of January 1st, 2019, that law was

           6    significantly amended and the Bureau of Labor has issued

           7    significant regulations detailing a lot of the different

           8    components of the law.

           9               The one that is important here, in my view -- or

           10   most important, among many, is that the Oregon legislature

           11   got rid of the defense of essentially a factor other than

           12   sex.   The law now lists, I think it's maybe five or six

           13   different practices that can account for a disparity in pay,

           14   and none of them is this open-ended factor other than sex,

           15   and none of them is a retention raise.

           16              So Professor Freyd's claim -- you know, she still

           17   works there, and her claim is for equitable relief going

           18   forward as well.    So I don't know if the court wants me

           19   perhaps to amend the complaint to make allegations under the

           20   new version of the law, but we would like to assert that her

           21   claim under 652.2.0 -- or 220, I think, has vastly different

           22   standards now as of January 1, 2019, and the defenses the

           23   defendant has put forward are no longer valid.

           24              THE COURT:     Okay.   I will take a look at that.

           25              MS. MIDDLETON:     Thank you, Your Honor.
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16:03:37   1               THE COURT:     Thank you, Ms. Middleton.

           2               Does the defense want to address that issue?

           3               MS. BARRAN:     Yes.   And I want to go back to one of

           4    the things Ms. Middleton said about the four-fifths rule

           5    because it's just wrong.

           6               The fourth fifths rule is a sampling rule.              So if

           7    you had a group of women and a group of men who had gotten

           8    offers and you only paid retentions to 80 percent of the

           9    women but 100 percent of the men, that's the operation of

           10   the four-fifths rule.

           11              What has happened here is the University of Oregon

           12   has paid the women who have gotten outside offers, has made

           13   a retention to 100 percent of them.         Every single woman.

           14   And that's the evidence in the record.          Every single woman

           15   who has brought a competing offer has gotten a retention

           16   offer from the University of Oregon.

           17              So nobody's sampling.       That's the whole

           18   population.    They paid everybody.

           19              So that argument only works if the university was

           20   saying -- you know, if the university, because it's

           21   sampling, women have to be advantaged at 80 percent of the

           22   male rate.    In this case, women are advantaged

           23   disproportionally than the men because every single one of

           24   them has gotten one.      It's just a -- it's a statistical rule

           25   which I am never particularly articulate at, but that was
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16:04:55   1    wrong.

           2               Second, the university has never -- and plaintiff

           3    admits this -- has never told her that she had to go out and

           4    get another offer to be paid equitably.           The university

           5    believes and asserts that Professor Freyd is paid

           6    appropriately and fully in compliance with the law.               Her pay

           7    sits exactly, precisely where it should sit.

           8               I want to mention the new law because one of the

           9    things that is in place in the new law is that there is a

           10   list of factors, one of which is that jobs are

           11   differentiated by responsibility.         And that takes us back to

           12   the very concrete differentiating factors on these

           13   individuals.

           14              It may not call it a factor of one's sex, but the

           15   differentiating factors for Ulrich Mayr, Gordon Hall, Phil

           16   Fisher, and Nick Allen are very, very plainly within the

           17   list.    And the list is actually quite long, and they are all

           18   sort of broken out into subparts.         But responsibility

           19   includes accountability.      And as we have discussed when we

           20   have talked about those concrete factors, there's a high

           21   level of accountability.

           22              Your Honor, I don't know where you are in what you

           23   want to hear from, but I'd feel very remiss to my client,

           24   Dr. Sadofsky, if I didn't have an opportunity to discuss the

           25   claims against him unless your court doesn't -- unless the
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16:06:23   1    court doesn't want to hear anything further on that.

           2               THE COURT:     Oh, that's just the Equal Protection

           3    claim?

           4               MS. BARRAN:     It's the --

           5               THE COURT:     The contract claim I don't need to

           6    hear about.

           7               MS. BARRAN:     Okay.

           8               THE COURT:     I think we have covered, between today

           9    and your briefings --

           10              MS. BARRAN:     Yes.

           11              THE COURT:     -- I think I am pretty comfortable we

           12   have covered everything.

           13              MS. BARRAN:     Yes.

           14              THE COURT:     So what I'd like to do is get an

           15   opinion out soon.       Normally I would tell you we are going to

           16   have it out next week.

           17              The problem with that is I have also just got

           18   buried with a lawsuit of 21 states trying to stop the

           19   Department of Health and Human Services from dramatically

           20   changing the rules in Title X having to do with -- well,

           21   primarily with Planned Parenthood.         So I am kind of in the

           22   middle of that, too.      Otherwise, I would say I think I can

           23   make up my mind and get something out soon.             If it's not out

           24   next week, we may have to skip another week to do so.

           25              But I will try my best to get focused on
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16:07:32   1    everything you said.      I really appreciate the amount of

           2    briefing, and oral argument here, by the way, is very, very

           3    good.    I am sure the law students who are watching will come

           4    back -- will go back and talk a little bit about just how

           5    well prepared everyone is.      So I do appreciate that very

           6    much.

           7               And we will do our best, if we can, get it out

           8    next week.    If we can't, it will probably be about three

           9    weeks.

           10              I am looking at Mr. Svelund, who is working on it

           11   with me.

           12              So we will be working hard on this.            I appreciate

           13   it.   Thank you very much.     We will be in recess.

           14              MS. MIDDLETON:     Thank you, Your Honor.

           15              (The proceedings were concluded this

           16              11th day of April, 2019.)

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16:08:07   1               I hereby certify that the foregoing is a true and

           2    correct transcript of the oral proceedings had in the

           3    above-entitled matter, to the best of my skill and ability,

           4    dated this 15th day of July, 2019.

           5

           6    /s/Kristi L. Anderson
                _______________________________________________
           7    Kristi L. Anderson, Certified Realtime Reporter

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